Case 1:05-cr-00163-PLM       ECF No. 1075, PageID.3623        Filed 03/02/09     Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,
                                                        CASE NO. 1:05-CR-163
v.
                                                        HON. ROBERT HOLMES BELL
LATRICIA CAPRI TAYLOR,

              Defendant.
                                   /


                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #1027). Based on a

review of defendant’s motion, the Sentence Modification Report, submission by counsel

on behalf of the defendant, and the original criminal file, the Court has determined that

the motion should be denied for the following reason(s):

       Defendant was originally charged in a Third Superseding Indictment alleging

Conspiracy to Distribute and Possess with Intent to Distribute Cocaine Base, Cocaine,

Heroin and Marijuana, and Possession with Intent to Distribute Heroin and Cocaine Base.

On January 18, 2007, defendant pled guilty to a Superseding Information charging

Unlawful Use of a Communications Facility. The charge carried a maximum term of

custody of 4 years. Because of the statutory maximum, the amended guideline calculation

does not result in a lower guideline range. The defendant argues that she should be
Case 1:05-cr-00163-PLM      ECF No. 1075, PageID.3624         Filed 03/02/09    Page 2 of 2




afforded an opportunity for a reduction of her 48-month sentence to be consistent with the

congressional intent to reduce crack related sentences. This Court respectfully disagrees.

The fact that defendant was afforded the opportunity to plead to an Information with a

statutory maximum sentence of 4 years appears to have adequately addressed the purpose

behind the amendments to the crack cocaine guidelines.

        ACCORDINGLY, defendant’s motion is hereby DENIED.




Date:    March 2, 2009                    /s/ Robert Holmes Bell
                                          ROBERT HOLMES BELL
                                          UNITED STATES DISTRICT JUDGE
